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 7                           UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
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10    ROSS BAGNASCO, et al.,                        Case No.: 3:17-cv-02359-BEN-KSC
11                                    Plaintiffs,
                                                    ORDER GRANTING JOINT
12    v.                                            MOTION TO DISMISS ENTIRE
                                                    CASE
13    EXPERIAN INFORMATION
      SOLUTIONS, INC., et al.,
14                                                  [Doc. No. 26]
                                   Defendants.
15
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17         Having read and considered the Joint Motion for Dismissal of Entire Case filed by
18   Plaintiffs ROSS BAGNASCO, an individual and JOANN BAGNASCO, an individual and
19   Defendants EQUIFAX INFORMATION SERVICES, LLC, a limited liability company,
20   and TRANS UNION LLC, a limited liability company, and good cause appearing,
21         IT IS HEREBY ORDERED:
22         The parties' Joint Motion for an Order Dismissing the Entire Case with prejudice is
23   hereby GRANTED. Each party is to bear its own fees and costs.
24         IT IS SO ORDERED.
25                 /                                                         '
     Dated: June _2_, 2018
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                                           Uni d States District Judg
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